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    5
      Attorneys for Plaintiffs CHEAP EASY ONLINE TRAFFIC
    6 SCHOOL; BORNA MOZAFARI AND MARLA KELLER
      AS TRUSTEES FOR CHEAP EASY ON-LINE TRAFFIC
    7 SCHOOL PENSION PLAN; BORNA MOZAFARI AS
      TRUSTEE FOR THE CHEAP EASY ON-LINE PROFIT
    8 SHARING PLAN; EASY ON LINE TRAFFIC
      SCHOOL.COM, INC.; MARLA KELLER AS TRUSTEE
    9 FOR THE MARLA KELLER PENSION PLAN AND
      MARLA KELLER 401(K) PLAN
   10
   11                              UNITED STATE DISTRICT COURT
   12                         SOUTHERN DISTRICT OF CALIFORNIA
   13
   14   CHEAP EASY ONLINE TRAFFIC                     Case No. 16-cv-02644 WQH-DHB
        SCHOOL; BORNA MOZAFARI AND
   15   MARLA KELLER AS TRUSTEES FOR                  JOINT MOTION FOR LEAVE TO
        CHEAP EASY ON-LINE TRAFFIC                    FILE FIRST AMENDED COMPLAINT
   16   SCHOOL PENSION PLAN; BORNA
        MOZAFARI AS TRUSTEE FOR THE
   17   CHEAP EASY ON-LINE PROFIT
        SHARING PLAN; EASY ON LINE
   18   TRAFFIC SCHOOL.COM, INC.; MARLA
        KELLER AS TRUSTEE FOR THE
   19   MARLA KELLER PENSION PLAN AND
        MARLA KELLER 401(K) PLAN
   20
                     Plaintiffs,
   21
            v.
   22
      PETER L. HUNTTING & CO., INC.; SMI
   23 PENSIONS; SHEFFLER CONSULTING
      ACTUARIES INC.; ESTATE OF PETER                 Judge: Hon. William Q. Hayes
   24 L. HUNTTING; MIKE EDWARDS;                      Dept. Courtroom 14B (Annex)
      WILLIAM SHEFFLER; ECONOMIC                      Magistrate: Hon. Louisa S. Porter
   25 GROUP PENSION SERVICES, INC.; and
      DOES 1 to 100, inclusive,
   26
                     Defendants.
   27                                                 Complaint Filed: October 24, 2016
                                                      Trial Date: None Assigned
   28
                                                  1
                 JOINT MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT - 16-cv-02644 WQH-DHB
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    1          Plaintiffs CHEAP EASY ONLINE TRAFFIC SCHOOL, BORNA MOZAFARI
    2   AND MARLA KELLER AS TRUSTEES FOR CHEAP EASY ON-LINE TRAFFIC
    3   SCHOOL PENSION PLAN, BORNA MOZAFARI AS TRUSTEE FOR THE CHEAP
    4   EASY ON-LINE PROFIT SHARING PLAN, EASY ON LINE TRAFFIC
    5   SCHOOL.COM, INC., and MARLA KELLER AS TRUSTEE FOR THE MARLA
    6   KELLER PENSION PLAN AND MARLA KELLER 401(K) ("Plaintiffs") and
    7   Defendants PETER L. HUNTTING & CO., INC., SMI PENSIONS, SHEFFLER
    8   CONSULTING ACTUARIES INC., ESTATE OF PETER L. HUNTTING, MIKE
    9   EDWARDS, WILLIAM SHEFFLER, and ECONOMIC GROUP PENSION SERVICES,
   10   INC. (“Defendants”) submit this Joint Motion for Order Granting Leave to Plaintiffs to
   11   File First Amended Complaint and stipulate to the following:
   12          1. Pursuant to their expert’s recently completed analysis, Plaintiffs have
   13   determined that an amendment of its complaint is warranted to update its liability and
   14   damages allegations consistent with its expert’s August Rule 26(a)(2) report, and thereby
   15   facilitate the final resolution of this matter.
   16          2. Additionally, the parties agree that an amended complaint will assist in
   17   resolving insurance coverage issues and thereby assist in settlement discussions.
   18          3. For the preceding just cause, the parties hereby agree that Plaintiffs should be
   19   granted leave by the Court to file the First Amended Complaint attached as Exhibit “A”.
   20          4. The First Amended Complaint shall be deemed filed and served on the already
   21   appearing Defendants concurrent with the entry of the court’s order granting this joint
   22   motion.
   23          5. Defendants shall each have twenty-one days from the filing of the First
   24   Amended Complaint to file an answer with the court.
   25          ///
   26          ///
   27          ///
   28          ///
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                     JOINT MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT - 16-cv-02644 WQH-DHB
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    1         IT IS SO STIPULATED.
    2   Dated: September 8, 2017              HORTON VILLAGE LAW GROUP, APC
    3
    4                                         By:__ /s/ Lincoln V. Horton_______________
                                              Lincoln V. Horton
    5                                         Attorneys for Plaintiffs CHEAP EASY
                                              ONLINE TRAFFIC SCHOOL; BORNA
    6                                         MOZAFARI AND MARLA KELLER AS
                                              TRUSTEES FOR CHEAP EASY ON-LINE
    7                                         TRAFFIC SCHOOL PENSION PLAN;
                                              BORNA MOZAFARI AS TRUSTEE FOR
    8                                         THE CHEAP EASY ON-LINE PROFIT
                                              SHARING PLAN; EASY ON LINE TRAFFIC
    9                                         SCHOOL.COM, INC.; MARLA KELLER AS
                                              TRUSTEE FOR THE MARLA KELLER
   10                                         PENSION PLAN AND MARLA KELLER
                                              401(K) PLAN
   11
   12
        Dated: September 8, 2017              MILLER, MONSON, PESHEL, POLACEK &
   13                                         HOSHAW
   14
                                              By:___/s/ Thomas M. Monson______________
   15                                         Thomas M. Monson
                                              Attorneys for Defendants SMI PENSIONS;
   16                                         SHEFFLER CONSULTING ACTUARIES
                                              INC.; WILLIAM SHEFFLER
   17
   18   Dated: September 8, 2017              BUTTERFIELD SCHECHTER LLP
   19
   20                                         By:__/s/ Marc S. Schechter______________
                                              Marc S. Schechter
   21                                         Attorneys for Defendants PETER L.
                                              HUNTTING & CO., INC.; ESTATE OF
   22                                         PETER L. HUNTTING
   23
        Dated: September 8, 2017              INDEGLIA & CARNEY
   24
   25
                                              By:__/s/ Marc Indeglia__________________
   26                                         Marc Indeglia
                                              Attorney for Defendant ECONOMIC GROUP
   27                                         PENSION SERVICES, INC.
   28
                                                 3
                JOINT MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT - 16-cv-02644 WQH-DHB
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    1
    2
        Dated: September 8, 2017              LAW OFFICES OF TIMOTHY KINDELAN
    3
    4
                                              By:__/s/ Timothy P. Kindelan_____________
    5                                         Timothy P. Kindelan
                                              Attorney for Defendant MIKE EDWARDS
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                JOINT MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT - 16-cv-02644 WQH-DHB
